          Case 3:22-cv-00635-JCH Document 20 Filed 09/06/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §              Case No: 3:22-cv-00635-JCH
                                      §
      Plaintiff,                      §              PATENT CASE
                                      §
vs.                                   §
                                      §
FREVVO, INC.                          §
                                      §
      Defendant.                      §
_____________________________________ §

        PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

       Now comes Plaintiff, Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”), by

and through its undersigned counsel, and responds to Defendant Frevvo, Inc.’s (“Defendant,”

and/or “Frevvo”) Motion to Dismiss or, Alternatively, Transfer for Lack of Venue [Doc. 18]

(hereafter the “Motion”) as follows:

       On May 6, 2022, Plaintiff filed its Complaint against Defendant [Doc. 1]. On August 17,

2022, Defendant filed its Motion. Thereafter, on September __6_, 2022, Plaintiff filed the Parties

Joint Motion (on Consent) to Transfer Venue [Doc. ___] (hereafter the “Joint Motion”),

requesting the Court to transfer the case to the Middle District of Florida. See, Joint Motion

attached hereto as Exhibit A.

       Plaintiff respectfully submits that Defendant’s Motion has been rendered moot due to the

filing of the Joint Motion.




JOINT MOTION TO TRANSFER VENUE                                                                   |1
         Case 3:22-cv-00635-JCH Document 20 Filed 09/06/22 Page 2 of 2




Dated: September 1, 2022.                   Respectfully submitted,


                                            /s/Lawrence G. Widem
                                            Lawrence G. Widem
                                            The Widem Law Group
                                            15 Winterset Lane
                                            West Hartford, Connecticut 06117
                                            Tel: (860) 833-0116
                                            Fed Bar No. ct05417

                                            ATTORNEYS FOR PLAINTIFF

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
September 6, 2022, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                             /s/Lawrence G. Widen
                                             Lawrence G. Widem




JOINT MOTION TO TRANSFER VENUE                                                                |2
